Exhibit E
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“Trump Train” Texas Attack
Lawsuits
FAQs
What happened on I-35 in Texas?


On October 30, 2020, the last day of early voting for the presidential election in Texas, a stretch
of Texas’ main highway between San Antonio and Austin became the scene of violent and
extreme intimidation. As a bus of Biden-Harris campaign staffers, surrogates, and contractors
headed to a tour stop in central Texas, a self-proclaimed “Trump Train” — dozens of Trump
supporters in at least 40 vehicles — surrounded the bus, came within inches of it, forced it to slow
down to a crawl on a busy interstate, and, as one of the drivers later bragged, “slamm[ed]” into a
staffer’s follow car.

       “It felt like back in the day, like when minorities were on Greyhounds and they would run us
       out of town,” said Tim Holloway, who was driving the bus that day. “It took me back there.
       It’s like we’ve made no progress.”

Afraid for their lives, the occupants of the bus and accompanying campaign vehicles called for
assistance from law enforcement, and both San Antonio and New Braunfels provided a police
escort to bring the bus safely to the next jurisdiction. But when the bus reached San Marcos,
despite having received notice in advance, the San Marcos law enforcement failed to protect the
Biden bus and the terrified passengers inside. It was in San Marcos that the Trump Train drivers
engaged in some of their most aggressive stunts, playing a madcap game of highway “chicken”
with the bus and, around the city line between San Marcos and Kyle, colliding with the staffer’s
car.



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Why are we suing?


We filed this lawsuit because everyone should be able to engage in peaceful political activity free
from fear, intimidation, or threats of violence. Everyone on the Biden campaign bus was doing
what good citizens of any political party should do — engaging in the electoral process. That is
our right as Americans.

Members of the so-called “Trump Train” surrounded the Biden bus on the highway in an
attempt to scare the occupants and prevent them from campaigning in peace — and that day, it
worked. The Biden campaign cancelled all remaining campaign stops once the Trump Train
intercepted it on I-35. We brought this case to deter people from engaging in that kind of voter
intimidation and harassment.

Political violence is unacceptable and needs to stop. The U.S. has a long history of voter
intimidation and political violence, especially toward Black Americans. This isn’t a new
phenomenon. But in recent years, political violence has been on the rise again. Especially after
the January 6 insurrection, it’s worrying to think about the violence that could take place in 2022
and 2024. We all have a right to participate in our democracy and choose our leaders. Political
violence and voter intimidation takes away that fundamental right, and that’s unacceptable.


Whom are we suing?


We filed two separate lawsuits in the U.S. District Court for the Western District of Texas. The
first lawsuit, Cervini v. Cisneros, was filed against individuals who conspired to harass and
intimidate the occupants of the Biden-Harris campaign bus. The second lawsuit, Cervini v. Stapp,
was filed against law enforcement officials who failed to intervene to stop the conspiracy.


Who are the plaintiffs?


Eric Cervini was in a campaign vehicle ahead of the Biden-Harris bus during the incident and
warned San Marcos law enforcement, to no avail, that the bus required help. A historian by

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profession, Eric has volunteered for every presidential election since 2008. Eric was slated to help
with campaign events logistics and to oversee logistics for an event in Austin. The October 30
attack barred him from engaging in his planned political volunteering. Throughout the incident,
he was afraid for the lives of the bus passengers, and he received serious online harassment in the
days following the attack.

Wendy Davis was serving as a surrogate for the Biden-Harris campaign and was present on the
bus when the Trump Train harassed its occupants. The October 30 attack barred her from
campaigning for herself and for Joe Biden and Kamala Harris when the Biden-Harris campaign
decided to cancel scheduled events due to safety concerns. The former Texas state senator and
2020 congressional candidate remarked that the bus incident was further evidence of a rising
temperature in American politics, and that she had never experienced this kind of intimidation
before in all the many campaigns she’d run and opposed. After the October 30 attack, Davis
considered speaking out about her experience but did not immediately come forward because she
feared for her safety.

David Gins was serving as the Director of State Operations for Texas for the Biden-Harris
campaign and was on the bus when it was ambushed. He called 911 while the bus was being
threatened by the Trump Train and spent much of the ordeal trying to obtain assistance from
various law enforcement agencies. Following the incident, he experienced persistent anxiety and
its resulting various physical manifestations. In early 2021, he volunteered to work in President
Biden’s inauguration, but backed out due to anxiety stemming from the bus incident.

Tim Holloway was hired to drive the Biden-Harris bus from campaign stop through campaign
stop throughout central Texas. He was at the wheel when the Trump Train approached and
managed to get the vehicle and its passengers to safety after at least 90 minutes of harassment on
I-35. The native of Southeast Washington, DC, had been running a successful business driving
buses for entertainers for almost 15 years until the Trump Train attack on October 30, 2020. He
has been unable to drive a bus since and has switched careers as a result.


What is the Ku Klux Klan Act?


After the Civil War, Black men finally won the right to vote, but the intent of that legislative
change was not realized in the South. White supremacists in the Ku Klux Klan targeted Black

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would-be voters with violence and terror to deter them from exercising their newly won right to
vote. Congress passed the Klan Act to prevent and punish these violent intimidation tactics.

The Klan Act provides a right to sue “if two or more persons conspire to prevent by force,
intimidation, or threat, any citizen who is lawfully entitled to vote, from giving his support or
advocacy in a legal manner, toward or in favor of the election of any lawfully qualified person as
an elector for President or Vice President, or as a Member of Congress of the United States; or to
injure any citizen in person or property on account of such support or advocacy.” In other words:
it’s illegal to get together with your buddies and make a plan to scare people away from voting or
campaigning.

For nearly 100 years, the Klan Act has remained mostly unused. Now, exactly 150 years after its
passage, we’re dusting it off and using it to fight the same sort of problems that voters faced in
1871. The vote is every American’s sacred choice and constitutional right, and we will fight to
ensure that individuals who utilize violent tactics to take that choice away are held accountable.

For a PDF of our primer on the Ku Klux Klan Act of 1871, click here
(https://s3.documentcloud.org/documents/20971211/copy-of-klan-act-one-pager-tcl.pdf).



How does the Klan Act apply to this case?


The voter intimidation that took place in Texas was a textbook violation of the Klan Act,
specifically the Act’s support-or-advocacy clauses (https://ir.lawnet.fordham.edu/cgi/viewcontent.cgi?
article=5769&context=flr).
                    The support-or-advocacy clauses (found at 42 U.S.C. § 1985(3)) make it
unlawful to conspire to intimidate or injure U.S. citizens for providing “support or advocacy” —
including speeches, donations, and votes — in favor of federal candidates for office.

The first complaint (Cervini v. Cisneros) alleges that the defendants teamed up and conspired to
use multi-ton pickup trucks on the highway to intimidate and obstruct occupants of the Biden
campaign bus from providing “support or advocacy” — here, delivering speeches — on behalf of a
presidential candidate.

A second complaint against the police (Cervini v. Stapp) alleges a violation of 42 U.S.C. § 1986.
Section 1986 makes it illegal to have knowledge of an unlawful conspiracy to violate the Klan
Act’s support-or-advocacy clauses and not take actions to help prevent the conspiracy from

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succeeding. In short, the provision requires all Americans who have the power to do so — public
officials and private citizens alike — to take reasonable steps to help protect their fellow citizens
from illegal conspiracies to deny them their civil rights.

The police in San Marcos had advance warning and contemporaneous notice of the attack on the
Biden campaign bus, and yet — unlike many of their colleagues in Texas law enforcement —
failed to take sufficient action to protect the bus and its occupants from being terrorized by
pickup trucks on I-35. Unsurprisingly, many of the worst incidents of intimidation happened in
and immediately adjacent to San Marcos as the Trump convoy — free from any moderating
influence provided by a police escort — was emboldened to try their utmost to violently
intimidate and harass the Biden campaign bus occupants. Section 1986 makes the members of the
San Marcos police who neglected to protect the bus liable to its occupants for failing to protect
their civil rights.


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